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2017R00950/DCC
UNITED sTATEs DIsTRIc'r coURT `
DIsTRIcT oF NEW JERSEY read 55 -: _
UNITED sTATEs oF AMERICA : Hon. i\)ll(,l'\£(€l zimle .` -
v_ : Crirn. No. i(;” l<)l/
PEDRO vERGARA : 13 o.s.c. § 554(&)

I N F 0 R M A T I 0 N
lsmuggling Goods from the United States]

The defendant having Waived in open court prosecution by indictment,
the United States Attorney for the District of New Jersey charges:

From in about August 2017 through in or about December 2017, in
Sornerset County, in the District of New Jersey and elsewhere, the defendant,

PEDRO VERGARA,

did fraudulently and knowingly export and send from the United States, and
attempt to export and send from the United States, merchandise, articles, and
objects, including firearms subject to sales restrictions and licensing controls
under Title 18, United States Code, Section 922(a)(1)(A), and did receive,
conceal, buy, sell and in any manner facilitate the transportation, concealment,
and sale of such merchandise, articles and objects, prior to exportation,

knowing the same to be intended for exportation.

In violation of Title 18, United States Code, Section 554(a).

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FORFEITURE ALLEGATION
1. As a result of committing the offense alleged in this Information,
defendant PEDRO VERGARA shall forfeit to the United States, pursuant to 18
U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(€), any and all property used or
intended to be used in any manner or part to commit and to facilitate the
commission of the violation alleged in this Information, including but not
limited to:

a. All of the defendant’s right, title, and interest in the following
specific property that the defendant agrees was lawfully seized, and that the
defendant admits is direct evidence of the charged offense, an instrumentality
of the charged offense, and /or has the requisite nexus to the charged offense,
and is therefore forfeitable to the United States as a firearm or ammunition
involved in or used in a knowing violation of l8 U.S.C. § 554(a):

(i) Six (6) Century Arms, Model RAS47, 7.62 x 39 caliber rifles,
each with defaced serial numbers;

(ii) Two (2) Romarm / Cugir, Model WASR-lO, 7.62 x 39 caliber
rifles, each with (defaced serial numbers;

(iii) Two (2) Inter Ordnance, Inc., Model Sporter, 7 .62 x 39
caliber rifles, each with defaced serial numbers;

(iv) One (1) Beretta, Model PX4 Storm, 9mm caliber pistol with
serial number PX299818;

(v) One (l) Henry Repeating Arms, Model HOOl, .22 caliber rifle

with serial number 926203H;

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(vi) One (1) Smith 85 Wesson, Model 640, .357 caliber revolver
with serial number DDB0082;

(vii) v2,000 rounds of 7 .62 x 39 caliber Wolf ammunition;

(viii) 100 rounds of .22 caliber Sellier 85 Bellot ammunition;

(ix) 50 rounds of Winchester .17 l-IMR (Hornady Magnum
Rimfire) caliber ammunition;

[x) 50 rounds of Blazer .35'7 caliber ammunition;

(xi) 25 rounds of Arnerican Eagle .35'7 caliber ammunition;

(xii) 550 rounds of American Eagle .22 caliber ammunition; and

(xiii) 500 rounds of CCI .22 caliber ammunition.

Substitute Assets Provision
2. If any of the above described forfeitable property, as a result of any

act or omission of the defendant

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third
person;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be

subdivided without difficulty;

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it is the intent of the United States, pursuant to 21 U.S.C. § 853, to seek

forfeiture of any other property of said defendant up to the value of the above

forfeitable property.

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cRAIGc @RPENlTo
United States Attorney

